                  UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH
                            CAROLINA
                        WESTERN DIVISION


KYLE MORGAN,                         *
an individual,                       *
                                     *
      PLAINTIFF,                     *
                                     *
v.                                   * Case No.
                                     *
SANDRA C. JOHNSON,                   *
a trustee,                           *
                                     *
       DEFENDANT.                    *
                                     *
                                     *
                                     *
                                     *
                                     *


                                COMPLAINT

      Plaintiff Kyle Morgan (“Morgan” or “Plaintiff”) hereby sues Defendant,

SANDRA C. JOHNSON, a trustee, (hereinafter “Defendant”) pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its

implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”) and alleges as follows:




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                          PRELIMINARY STATEMENT

      1.     Though not required by the ADA, Plaintiff attempted to resolve this

matter prior to filing the present complaint but was unable to do so.

      2.     Defendant’s ADA violations create real and significant barriers to

entry for disabled persons such as Plaintiff. Pursuant to Title III of the ADA,

Plaintiff seeks declaratory and injunctive relief requiring Defendant to (1) remedy

the violations identified herein and (2) enact and adhere to a policy that ensures the

proper maintenance of the property to avoid future ADA violations.

                         JURISDICTION AND PARTIES

      3.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendant, SANDRA C. JOHNSON’s, failure to

remove physical barriers to access and violations of Title III of the ADA.

      4.     Venue is properly located in the EASTERN DISTRICT OF NORTH

CAROLINA IN THE WESTERN DIVISION pursuant to 28 U.S.C. § 1391(b)

because venue lies in the judicial district of the property situs or the judicial district

in which a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred. The Defendant’s property is located in and does business within this




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judicial district and all events giving rise to this lawsuit occurred in this judicial

district.

       5.    Plaintiff, Kyle Morgan, is and has been at all times relevant to the

instant matter, a natural person residing in North Carolina and is sui juris.

       6.    Plaintiff is an individual with disabilities as defined by the ADA.

       7.    Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       8.    Plaintiff uses a wheelchair for mobility purposes.

       9.    Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

       10.   Defendant, SANDRA C. JOHNSON, is a trustee conducting business

in the State of North Carolina and within this judicial district.

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                          FACTUAL ALLEGATIONS

      11.   On or about July of 2023, Plaintiff attempted to but was deterred from

patronizing and/or gaining equal access as a disabled patron to the Sherwin-

Williams Paint Store located at 3910 Capital Boulevard, Raleigh, NC 27604

(“Subject Facility”, “Subject Property”).

      12.   SANDRA C. JOHNSON is the owner, lessor, and/or operator/lessee of

the real property and improvements that are the subject of this action, specifically

the Sherwin-Williams Paint Store and its attendant facilities, including vehicular

parking and common exterior paths of travel within the site identified by the Wake

County Assessor parcel identification number 1725387651 (“Subject Facility”,

“Subject Property”).

      13.   Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Capital Blvd, a Wake County thoroughfare that

he frequents routinely, he is routinely where the Subject Property is located and

travels in and about the immediate area of the Subject Property numerous times

every month, if not every week.

      14.    Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

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Defendant, SANDRA C. JOHNSON, is compelled to remove the physical barriers

to access and correct the ADA violations that exist at the Subject Property, including

those set forth in this Complaint.

      15.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      16.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      17.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

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possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

      18.    Plaintiff has a fundamental right as established under the ADA to

patronize any place of public accommodation as any person who is not disabled has.

      19.    Plaintiff’s day-to-day life has been negatively affected by the barriers

to entry at the Subject Property, as his fundamental right to patronize any place of

public accommodation at his choosing has been diminished by Defendant’s non-

compliance with the ADA.

      20.    Plaintiff has no obligation to only patronize places of public

accommodation that are ADA compliant.

      21.    If barriers to entry are not removed at the Subject Property, it will place

undue hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff to

“search” for a place of public accommodation to patronize that is ADA compliant.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      22.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      23.    The Subject Property is a public accommodation and service

establishment.
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     24.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     25.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     26.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     28.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

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commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     29.     Defendant, SANDRA C. JOHNSON, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     30.     Defendant, SANDRA C. JOHNSON, will continue to discriminate

against Plaintiff and others with disabilities unless and until SANDRA C.

JOHNSON is compelled to remove all physical barriers that exist at the Subject

Property, including those specifically set forth herein, and make the Subject

Property accessible to and usable by Plaintiff and other persons with disabilities.

     31.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

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of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                         Sherwin-Williams Paint Store
                                 (Exterior)
            a. There is no van-accessible parking identified as such
               with upright “Van Accessible” signage in violation of
               Section 4.6 of the 1991 ADAAG and Sections 208, 302
               and 502 of the 2010 ADAAG. These violations made
               it dangerous for Plaintiff to utilize the parking facility
               at the Subject Property and caused Plaintiff loss of
               opportunity.

            b. The visible upright signage (displaying the
               International Symbol of Accessibility) designating the
               parking space as accessible is mounted too low in
               violation of Section 4.6 of the 1991 ADAAG and
               Section 502 of the 2010 ADAAG. These violations
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff loss
               of opportunity.

            c. The visible upright signage (displaying the
               International Symbol of Accessibility) designating any
               parking space as accessible is faded and unintelligible
               in violation of Section 4.6 of the 1991 ADAAG and
               Section 502 of the 2010 ADAAG. These violations
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff loss
               of opportunity.

            d. The paint delineating the designated accessible parking
               space and access aisle is not being maintained so that it
               clearly marks the accessible parking location in
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        violation of 28 CFR § 36.211, Section 4.6 of the 1991
        ADAAG, and Section 502.3.3 of the 2010 ADAAG.
        These violations made it dangerous for Plaintiff to
        utilize the parking facility at the Subject Property and
        caused Plaintiff loss of opportunity.

     e. The purported designated accessible parking space is
        not level in all directions and has areas of uneven,
        broken, and cracked pavement because of Defendant’s
        history and practice of failing to inspect and maintain
        the parking surface in violation of 28 CFR § 36.211,
        Sections 4.5.1 and 4.6.3 of the 1991 ADAAG and
        Sections 302 and 502.4 of the 2010 ADAAG. These
        violations made it dangerous for Plaintiff to utilize the
        parking facility at the Subject Property and caused
        Plaintiff loss of opportunity.

     f. The purported accessible aisle is not level in all
        directions and has areas of uneven, broken, and cracked
        pavement because of Defendant’s history and practice
        of failing to inspect and maintain the parking surface in
        violation of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3
        of the 1991 ADAAG and Sections 302 and 502.4 of the
        2010 ADAAG. These violations made it dangerous for
        Plaintiff to utilize the parking facility at the Subject
        Property and caused Plaintiff loss of opportunity.

     g. There are slope variations at the purported designated
        accessible parking space with changes in direction that
        have caused a compound cross slope in violation of
        Sections 4.5.1 and 4.6.3 of the 1991 ADAAG and
        Sections 302, 403, and 502.4 of the 2010 ADAAG.
        These violations made it dangerous for Plaintiff to
        utilize the parking facility at the Subject Property and
        caused Plaintiff loss of opportunity.



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     h. There are slope variations at the purported access aisle
        with changes in direction that have caused a compound
        cross slope in violation of Sections 4.5.1 and 4.6.3 of
        the 1991 ADAAG and Sections 302, 403, and 502.4 of
        the 2010 ADAAG. These violations made it dangerous
        for Plaintiff to utilize the parking facility at the Subject
        Property and caused Plaintiff loss of opportunity.

     i. The plaintiff could not safely traverse the path of travel
        from the parking facility to the store entrance as the
        designated accessible route has excessive cross slopes
        and unpermitted changes in the level present.
        Violation: The path of travel contains excessive slopes
        in violation of Sections 4.3.7 and 4.3.8 of the 1991
        ADAAG and Sections 403.3 and 403.4 of the 2010
        ADAAG. These violations made it dangerous and
        difficult for Plaintiff to access the Subject Facility
        solely because he uses a wheelchair. This violation
        made it dangerous for Plaintiff to utilize the parking
        facility at the Subject Property and caused Plaintiff loss
        of opportunity.

     j. Handrails are not provided on both sides of the ramp
        leading to the entrance in violation of Section 4.8.5 of
        the 1991 ADAAG and Section 405.8 and 505 of the
        2010 ADAAG. These violations made it dangerous for
        Plaintiff to utilize the parking facility at the Subject
        Property and caused Plaintiff loss of opportunity.

     k. There is no accessible route provided within the site
        from the public sidewalk that serves the Subject
        Facility. Violation: There is no accessible route
        connecting the public sidewalk serving the subject
        facility and any accessible entrance(s) in violation of
        Section 4.3.2 of the 1991 ADAAG and Section 206.2.1
        of the 2010 ADAAG. These violations made it
        dangerous for Plaintiff to utilize the parking facility at
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        the Subject Property and caused Plaintiff loss of
        opportunity.


                    MAINTENANCE PRACTICES

     a. Defendant has a practice of failing to maintain the
        accessible features of the facility, creating barriers to
        access for the Plaintiff, as set forth herein, in violation
        of 28 CFR § 36.211. This practice prevented access to
        the plaintiff equal to that of Defendant’s able-bodied
        customers causing Plaintiff loss of opportunity.

     b. Defendant has a practice of failing to maintain the
        accessible elements at the Subject Facility by
        neglecting their continuing duty to review, inspect, and
        discover transient accessible elements which by the
        nature of their design or placement, frequency of usage,
        exposure to weather and/or other factors, are prone to
        shift from compliant to noncompliant so that said
        elements may be discovered and remediated.

     c. Defendant has failed and continues to fail to alter their
        inadequate maintenance practices to prevent future
        recurrence of noncompliance with dynamic accessible
        elements at the Subject Facility in violation of 28 CFR
        § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
        These violations, as set forth hereinabove, made it
        impossible for Plaintiff to experience the same access
        to the goods, services, facilities, privileges, advantages
        and accommodations of the Subject Facility as
        Defendant’s able-bodied patrons and caused Plaintiff
        loss of opportunity.

     d. Defendant has failed to modify their discriminatory
        maintenance practices to ensure that, pursuant to their
        continuing duty under the ADA, the Subject Property
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                remains readily accessible to and usable by disabled
                individuals, including Plaintiff, as set forth herein, in
                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendant prevented access to the plaintiff equal to
                that of Defendant’s able-bodied customers causing
                Plaintiff loss of opportunity.

      32.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, has actual notice that the

Defendant does not intend to comply with the ADA.

      33.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting their continuing duty to review,

inspect, and discover transient accessible elements which by the nature of its design

or placement, frequency of usage, exposure to weather and/or other factors, are

prone to shift from compliant to noncompliant, so that said elements are discovered

and remediated. Defendant has failed and continue to fail to alter their inadequate


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maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      34.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      35.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      36.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.




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      38.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      39.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      40.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      41.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprive Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      42.    Defendant is required to remove the existing architectural barriers to

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the physically disabled when such removal is readily achievable for their places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      43.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, SANDRA C. JOHNSON, is required to remove the

physical barriers, dangerous conditions and ADA violations that exist at the Subject

Property, including those alleged herein. Considering the balance of hardships

between the Plaintiff and Defendant, a remedy in equity is warranted.

      44.    Plaintiff’s requested relief serves the public interest.

      45.    Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendant, SANDRA C. JOHNSON, pursuant to 42

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U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal

access to the subject premises, as provided by the ADA unless the injunctive relief

requested herein is granted.

       46.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill their continuing duty

to maintain the accessible features at the premises in the future as mandated by 28

CFR 36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.     That the Court find Defendant, SANDRA C. JOHNSON,
              in violation of the ADA and ADAAG;

       B.     That the Court enter an Order requiring Defendant,
              SANDRA C. JOHNSON, to (i) remove the physical
              barriers to access and (ii) alter the Subject Property to
              make the Subject Property readily accessible to and
              useable by individuals with disabilities to the full extent
              required by Title III of the ADA;

       C.     That the Court enter an Order directing Defendant,
              pursuant to 28 C.F.R. §36.211, to fulfill their continuing
              duty to maintain their accessible features and equipment
              so that the facility remains accessible to and useable by
              individuals with disabilities to the full extent required by
              Title III of the ADA;

       D.     That the Court enter an Order directing Defendant to
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            implement and carry out effective policies, practices, and
            procedures to maintain the accessible features and
            equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
            §36.211.

      E.    That the Court enter an Order directing Defendant to
            evaluate and neutralize their policies and procedures
            towards persons with disabilities for such reasonable time
            so as to allow them to undertake and complete corrective
            procedures;

      F.    An award of attorneys’ fees, costs (including expert fees),
            and litigation expenses pursuant to 42 U.S.C. § 12205 and
            an award of monitoring fees associated with insuring that
            the Defendant is in compliance with the ADA.

      G.    An award of interest upon the original sums of said award
            of attorneys’ fees, costs (including expert fees), and other
            expenses of suit; and

      H.    Such other relief as the Court deems just and proper,
            and/or is allowable under Title III of the Americans with
            Disabilities Act.




Dated this the 16th day of January, 2024.


                                Respectfully submitted,

                                /s/ Kenneth N. Barnes
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                                Counsel for Plaintiff
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